Case 3:19-cv-08268-DLR Document 45 Filed 10/08/20 Page 1 of 41

Elston L Stephenson (Plaintiff Pro se) /S Pupp ~~ LOpGsp
Case 3:19-cv-08268-DLR EGER __ GORY ‘
P.O. Box 129 OCT 0 8 2020 L
Grand Canyon, AZ 86023 j
October 7, 2020 . ai eTwor en ean {

BY. wa DEPUTY |

U.S. District Court Clerk’s Office

Sandra Day O’Connor U.S. Courthouse, Suite 130
401 W. Washington Street, SPC 1

Phoenix, AZ 85003-2118

Dear Court,

Please receive and consider this MOTION FOR EMERGENCY INJUNCTION BARRING
RETALIATION AGAINST PLAINTIFF in the case of STEPHENSON V DRAPEAUX.

Thank You

Mf ACCORDING

Sincerely, D PRACTICES
AND IS SUECT T ME COURT.

REFERENCE URCw$ 5, sf 9 Cb) C{)

(hale Nuit ince potion)

Elston L Stephenson

MOTION

Your Honor, respectfully, Plaintiff seeks an Emergency Injunction to stop pretextual retaliation
against Plaintiff by the Department of Interior (DO!) for his vigorous Constitutional pro se representation in
this case and reporting “Federal offense[s]” per 18USC §1512. DOI is clearly partnered with the U.S. Attorney
in this case. The Court will find that DOI’s actions intend to ‘back door’ Discovery and violate Federal Rule 26
after U.S. Attorney unwisely Motioned and received termination (Vacate) of the Rule 16 which would have
routinely scheduled Discovery. The Court will find that Defendant’s counsel is no ordinary counsel, but DOJ—
‘the ultimate prosecutor’. DOI’s efforts to force Plaintiff into interrogation violates his 5 Amendment Right.
DOI opening Plaintiff's U.S. Mail—the Court’s correspondences to Plaintiff, stealing them, reading them,
destroying them—Obstructing Justice should shock and deeply offend the Court. Each standing alone merits

Emergency Injunction. Combined, DOI’s actions offend Justice and the Rule of Law, and beg for Injunction.
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CV19-8268-PCT-DLR

EXHIBIT X-15

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UNITED STATES DEPARTMENT OF

THE INTERIOR

NATIONAL PARK SERVICE

REPORT OF INVESTIGATION

Investigation conducted by:

The Law Offices of Stuart L. Plotnick
Neil Jacobs - Investigator

51 Monroe Street, Suite 701
Rockville, Maryland 20850
301.251.1286 (phone)

301.762.8539 (fax)

COMPLAINANT’S NAME: Elston L. Stephenson
COMPLAINT NUMBER: NPS-18-0460

This document is for OFFICIAL USE ONLY. Neither it nor its contents are to

be distributed outside of your Agency, nor duplicated, without proper
authorization. You should be advised that any unauthorized use of this
document might subject you to penalties provided by law.

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since June 2014. Mr. Drapeaux is familiar with Eomplinan as his first level supervisor .
He is aware from visual observation that Complainant is an African American.

Matthew Vandzura (White) responsible mnanaglmen official, is Chief Ranger, grade
GS-14, United States Department of the Interior (DOT), National Park Service (NPS),
Grand Canyon National Park, Grand Canyon, AZ. He has been in his position since
March 2016, and has worked for the Agency since 1989. Mr. Vandzura is familiar with
Complainant as the Safety Officer at Grand Canyon National Park. He is aware that
Complainant is African American from visual observation of him.

Charles Erikson (Caucasian) witness, is a Visitor Use Assistant; grade GS-5, United
States Department of the Interior (DOI), National Park Service (NPS), Grand Canyon
National Park, Grand Canyon, AZ. He has been in his position since April 2016 and has
worked for the Agency since 2011. Mr. Erikson is aware that Complainant is African
American from visual observation of him.

David Kane (Caucasian) witness, is Chief of Safety, Health and Wellness; grade GS-14,
United States Department of the Interior (DOI), National Park Service (NPS), Grand
Canyon National Park, Grand Canyon, AZ. He has been in his position since August,
2016, and has worked for the Agency since 2008. Mr. Kane is aware of Complainant
being African American from visual observation of him.

Summary

Whether the complainant was subjected to harassment and discriminated
against on the basis of race (African American) when:

1. He was not given a performance appraisal during his entire tenure at
GRCA (Grand Canyon National Park).

Management Testimony

Mr. Drapeaux states that Complainant was not provided with a performance work plan
prior to the period November 9, 2019 to December 19, 2019. According to Mr.
Drapeaux, former Superintendent Lehnertz wanted to fire Complainant during his
probationary period. He states that she utilized words in describing Complainant that led
him to believe that she was basing her feelings toward him on his race rather than
performance. Mr. Drapeaux states that he did not want to prepare a performance work
plan for Corhplainant because he believed that Ms. Lehnertz would want material placed
in it that could be used to justify his termination.: He states that he himself had filed
several complaints against Ms. Lehnertz. Mr. Drapeaux states that Ms. Lehnertz was
subsequently suspended, and voluntarily resigned from her position last Spring.

Mr. Drapeaux states that Complainant has since requested a performance work plan
and/or appraisal from him both in writing and verbally. He states that he has
attempted to meet with Complainant on multiple occasions to design his performance
Case 3:19-cv-08268-DLR Document 45 Filed 10/08/20 Page 5 of 41

responsibilities in the Park during the same period. Mr. Drapeaux states that he advised
Complainant to seek different dates, plan and request welllin advance to ensure proper
discussion and planning for his time out of the Park. Both| of these types of training are
readily available to safety professionals throughout any given year and making better
planning choices makes the best sense giving the responsibilities of the Park’s Safety
Manager role. Mr. Drapeaux states that he denied both trainings based on Park priorities
and Park immediate needs.

5. In May of 2018, he began submitting appointment letters of which are
required by OSHA, to the Superintendent for signature, and they were

never signed.

Management Testimony

Mr. Drapeaux states that he is not aware of what an appointment letter is nor its purpose.
He states that he is unaware of Complainant submitting and appointment letters to the
Superintendent or of her not signing them.

6. On June 15, 2018, and four (4) days following, the Superintendent
excluded him from uranium readings, and other exposure information,
while providing the information to a non NPS employee (Caucasian, and
an Intermountain Region employee (Caucasian) with less experience.

Management Testimony

Mr. Drapeaux states that he is not an expert or knowledgeable of what a “uranium
reading” .is. He states that he is unaware of Complainant being involved in uranium
readings or exposure information. Mr. Drapeaux states that he has no knowledge of
Complainant on June 15, 2018, being excluded from uranium readings and other
exposure information.

7. His budget request for the Safety Department was denied on multiple
occasions; however, all other safety programs run by Caucasian

managers are afforded their own budget.

Management Testimony

Mr. Drapeaux states that Complainant is Park Safety Manager, which encompasses
one other authorized position for him to hire. He does not have the title of Director. He
states that Safety is a responsibility of all employees and supervisors. According to Mr.
Drapeaux, the Park teaches Operational Leadership to employees. He states that the
Safety Manager has responsibilities specific to his job description and is identified as an
integral part of the Employee Safety, Health and Wellness Committee.

Mr. Drapeaux states that due to insufficient budget allocations, a decision by the park

senior leadership team, prior to the complainant’s arrival at the park, determined that
safety related purchases were the responsibility of the divisions. The responsibility of the

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In the Matter of Elston L. Stephenson
Complaint Number: NPS-18-0460
Agency: United States Department of Interior
National Park Service

STATEMENT OF WOODY SMECK
RESPONSIBLE MANAGEMENT OFFICIAL

My name is Woody Smeck. My job title is Superintendent; grade GS-0025-15, National
Park Service, Sequoia and Kings Canyon National Parks, Three Rivers, CA. I] have been
in my position since April 2013. I have worked for the Agency since July 1991. My
telephone number during the day is 559-565-3101.

I HAVE BEEN ADVISED OF THE FOLLOWING:

I am required by Federal regulations and United States Department of Interior policy and
National Park Service policy to cooperate fully and promptly with the investigator who has
been assigned to conduct a thorough and impartial investigation into a complaint of
discrimination against the Untied States Department of Interior and National Park Service.
I must provide a statement for the investigative report, which is true, and complete to the
best of my knowledge and which discloses all of my firsthand knowledge having a bearing
on the merits of the complaint. My statement is provided under oath (or affirmation),
without a pledge of confidentiality, in accordance with Equal Employment Opportunity
Commission rules and regulation as well as those of the United States Department of
Interior and National Park Service. The Complainant and the appropriate Departmental
officials involved in the EEO complaint process will receive the entire investigative file. I
have the right to review my statement prior to signing it and may make initialized
corrections if it is incomplete or inaccurate. I have the right to receive a copy of the signed
statement.

Having been advised of the above information about my role as a witness in the
investigative process, I solemnly swear the statement that follows is true and complete to
the best of my knowledge and belief, and addresses the issues and concerns raised with me
by the investigator.

I have the right to review my statement prior to signing it, and may make initialed

corrections if it is incomplete or inaccurate. I have a right to receive a copy of the signed
statement.

Background
Q. What is your race?
A. White

Q. What is your job title?

[Initials wsS

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EXHIBIT J

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7/25/2019 DEPARTMENT OF THE INTERIOR Mail - Follow-Up Grand Canyon Nal Park Citation 1963108

Stephenson, Elston <elston_stephenson@nps.gov>

Follow-Up Grand Canyon Nat Park Citation 1363108

Stephenson, Elston <elston_staphenson@nps.gov> Thu, Jul 11, 2019 at 8:17 AM
To: "Bamett, Zachary - OSHA” <bamett.zachary@dol.gov>

Zach,
Good Morning & Belated Happy 4th!
Would it be possible to forward the Employer Grand Canyon National Park 'response' to Citation 1363108,

Although | made recommendations; | was not included in 'the GRCAMMRI/NPS huddle’ for the final 1903.19 response
(Abatement Certification, Documentation, or Plans).

As both the Complainant and the GRCA Safety Officer, would It be possible to forward GRCA's response to Citatlon
1363108,

Thank You,

Sincerely,

Swede

Elston L Stephenson, OHST
Safety Health & Wellness Manager
Tort Claims Officer

Grand Canyon National Park
928-255-8727

hitps://mail.geogle.com/mail/u/07ik=b7d1a9760aaview=ptasearch=al& permmsgid=msg-a% 3Ar-44442993228097286228simpl=msg-a%3Ar-4444299. » 4A

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7/25/2019 DEPARTMENT OF THE INTERIOR Mail - [EXTERNAL] Employer response lo Grand Canyon

Say

ee Stephenson, Elston <elston_stephenson@nps.gov>
Sen

[EXTERNAL] Employer response to Grand Canyon

Bamett, Zachary - OSHA <Barmelt.Zachary@dol.gov> Mon, Jul 15, 2019 at 1:36 PM
To: "Stephenson, Elston (elston_stephenson@nps.gov)” <elston_slephenson@nps.gov>

Hi Swede,

This is the only response Information | have from the Grand Canyon regarding the Notices issued.

#>) Grand Canyon employer rasponse.pdf
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United States Deparunent of the Interior

Dy CECT
TINE

NATIONAL PARK SERVICE
GRAND CANYON NATIONAL PARK
P.O. BOX 129
GRAND CANYON, AZ 86023
IN REPLY REFER TO
10.C (8211)

JUN 19 2019

uIerg

T. Zachary Barnett, Area Director
U.S. Departnient of Labor
Occupitional Safety and Health Administration

p
230 N IY Avenue ~-
Suite 202
Phoenix AZ 85003 ~hn
Q_

TPP

Re: Inspection Number 1363108

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POS

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Vi | Pt

Dear Mr. Barnett.

During an inspection on November 28, 2018, your staft identified three corrective actions that required
Grand Canyon National Park (GRCA) to address. This lever also notifies you that the Park posted the
Notice in prominent places throughout our buildings, including the park museum collection building

This letter serves as our abatement certification that Notive | tems 2. & 3, On Friday June 14, 2019
GRCA provided training to 39 staff members who have roles associated with preservation of museum
collections und exhibits but also included park leadership, supervisors, und emergency first responders,
This training included HAZCOM, HAZMAT, Safe Walking, Working Surfaces und Emergency Egress
and additional Supervisor's Additional Traming covered Accident Reporting. NPS Safety Management
Information Sy stent and the Worker's Compensation Program

Grand Canyon National Park is planning to provide similar training to all park personnel within the next
year and commits to continuing training into the future. This will include 4 to 5 more mandatory trainings
before December 31", 2019 to reach all employees. Attached ts the Cenitication of Corrective Action

Worksheet.

If you have any questions please feel tree to contact me directly, or Brian Drapeau at 928-638-7903 <-o ©
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Sincerely, bp A S
Ft
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Woody Smetk ds = g
Acting Superintendent ob
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OSHA-PHOENIX ct &
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CERTIFICATION OF CORRECTIVE ACTION WORKSHEET — FEDERAL AGENCIES

ey
Inspection Number: 1363108 we
Agency Name: National Park Service, dba Grand Canyon National Park Cz
Inspection Site: 2C Albright Ave, Grand Canyon, AZ 86023 J
Issuance Date: 05/22/2019 g_
Employer Instruction: List the specific method of correction for each item on the enclosed notices that does not =
read “Corrected During Inspection” and relur to: U.S, Department of Labor — Occupational Safety and >
Health Administration, 230 N Ist Avenue, Suite 202, Phoealx, AZ 85003, Failure to submit a timely

certification of corrective action may result in a notification to your agency DASHO, ~ a9
Notice Number and Item Number _<- was corrected on eft Y/,f 17 eo

By (Method of Abatement); 7-37.3, fur ARenon HAZMAT 95h rai ding te tau S.
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By (Method of Abatement);

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Notice Number sand Kem Numbers wascorrectedon 5
By (Method of Abatement): Tard gs! E sod a —
lassi acre . setae = a nr errr ewer reer gay Se ~~
Notice Number and {tem Number___ was corrected on tt
By (Method of Abatement): o $
Notice Number and Item Number wascorectedon p

By (Method ofAbatementy; Sch eet Poe

I certify that she information contained in this document is accurate and that the affected employces and their
representatives have been informed of the abatement

(Way (141 (4

Signature () Date

Aetiae, ou }

NOTE; 29 USC 666(g) whoever knowingly makes any false statements, representation or cenificatiun in any ALUN Bafrecoru, plan oF
other documents filed or required to be maintained pursuant to the Aet shall, upon conviction, be punished by a fine of not more than
$10,000 of by imprisonment of not more than 6 months or both OSHA HOR

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POSTING: A copy of completed Corrective Action Worksheet should be pusted fur empluyee review.

Notice of Unsafe and Unheatthful Working Conditions Page 5 of 8 O5NA-2H

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Case 3:19-cv-08268-DLR Document 45 Filed 10/08/20 Page 12 of 41

U.S. Department of Labor
Occupational Safety and Health Administration
230 N Ist Avenue

Suite 202

Phoenix, AZ 85003

Notice of Unsafe or Unhealthful Working Conditions.

To: Inspection Number: 1363108
National Park Service, dba Grand Canyon National fnuspection Date(s): 11/28/2018 -
Park issuance Date: 05/22/2019

PO Box 129

Grand Canyon, AZ 86023

Inspection Site:
2C Albright Ave
Grand Canyon, AZ 86023

This Notice of Unsafe and Unhealthful Working Conditions (Notice) describes violations of the Occupational
Safety and Health Act of 1970, the Executive Order 12196, and 29 CFR 1960, Busic Program Elements for
Federal Employee Occupational Safety and Health Programs and Related Matters. You must abate the violations
referred to in this Notice by the dates listed unless, within 15 working days (excluding weekends and Federal
holidays) from your receipt of this Notice you request an Informal Conference with the US Department of Labor
OSHA Asea Office at the address shown above. Please refer to the enclosed publication “Federal Employer
Rights and Responsibilities Following an OSHA inspection” which outlines the appeals procedure for this
Notice and which should be read in conjunction with this form. If you have any questions please contact this
office at 602-514-7250

Posting ~ The law requires that a copy of this Notice be posted immediately in o prominent place ot or near the
location of the violation(s) cited herein, or, if it is nol practicable because the nature of the employer's operations,
where it will be readily observable by all affected employees. This Notice must remain posted until the
violation{s) cited herein has (have) been abated, or for 3 working days (excluding weekends and Federal
holidays), whichever is tonger.

Notification of Corrective Action = For each violation which you do not appeal, you must provide abatement
certification to the Area Director of the OSHA office issuing the Notice and identified above. This abatement
certification is to be provided by letter within 10 calendar days after each abatement date. Abatement
certification includes the date and method of abatement. If the Notice indicates that the violation was corrected

‘Notice of Unsafe and Unhealthtal Working Conditions Page lols / OSHA2H

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during the inspection, no abatement certification is required for that item. The abatement certification letter must
be posted at the location where the violation appeared and the corrective actin took place or employees must
otherwise be effectively informed about abatement activities. A template abatement certification letter is
enclosed with this Notice. In addition, where the Notice indicates that abatement documentation is required,
evidence of the purchase or repair of equipment, photographs or video, receipts, training records, etc., verifying
that abatement has occurred is required to be provided to the Area Director.

Program Responsibilities - Section 19(a)(1) of the OSH Act requires the head of each Federal agency to
comply with applicable occupational safely and health standards, The intent of this section and Executive Order
12196 is implemented through 29 CFR 1960.8(b). If you are cited for violations of applicable safety and health
standards, you have also violated the program element 29 CFR 1960.8(b), which stipulates:

“The head of each agency shall comply with the Occupational Safety and Health Administration standards
applicable to the agency,"

faformal Conference — An informal conference is not required, However, if you wish to have such a conference
you may request one with the Area Director within 15 working days after receipt of this Notice. As soon as the
time, date, and place of the informal conference have been determined please complete the enclosed “Notice to
Employees” and post it where the Notice is posted. During such an informal conference you may present any
evidence or views you believe would support an adjustment to the Notice. In addition, bring to the conference
any and all supporting documentation of existing conditions as well as any abatement steps taken thus fur.

If you are considering a request for an informal conference 10 discuss any issues related to the Notice, you must
take care to schedule it early enough to allow time to appeal after the informal conference should you decide to
do so. Please keep in mind that a written letter of intent to appeal must be submitted by the Agency’s Notional
OSH Manager to the OSHA Area Director within 15 business days of your receipt of the OSHA Notice to
request that OSHA's Regional Administrator review the cnse.

Inspection Activity Data ~ You should be aware that OSHA publishes information on its inspection and notice
activity on the Interne! under the provisions of the Electronic Freedom of Information Act. The information
related to these alleged violations will be posted when our system indicates that you have received this notice.
You are encouraged to review the information concerning your establishment at www.OSHA.pov. Vf you have
any dispute with the accuracy of the information displayed, please contact this office.

Notice of Unsafe and Unicalhfil Working Conditions == sstséPage 28 ttCS*~S~S OSHA-2H

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Notice of Unsafe and Unhealihful Working Conditions = PugcoFB ss ss—~—~*«S A

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U.S. Department of Labor
Occupational Safety and Health Administration

NOTICE TO EMPLOYEES

An informal conference has been scheduled with the Occupational Safety and Health
Administration (OSHA) to discuss the Notice of Unsafe or Unhealthful Working Conditions
(Notice) issued on 05/22/2019. The conference will be held by telephone or at the OSHA office

located at 230 N Ist Avenue, Suite 202, Phoenix, AZ 85003 on at

. Employees and/or representatives of employees have a right to attend an

informal conference,

Noticeof Unsafe and Unhcalihfot Working Conhions = Page dofBsstst—i“<i*~*i‘“‘~*:*CSHA

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CERTIFICATION OF CORRECTIVE ACTION WORKSHEET ~— FEDERAL AGENCIES

inspection Number: 1363108

Agency Name: National Park Service, dba Grand Canyon National Park
Inspection Site; 2C Albright Ave, Grand Canyon, AZ 86023

Issuance Date: 05/22/2019

Employer lustruction: List the specific method of correction for each iter on the enclosed notices thal does not
sead Corrected During Inspection” and retum to: U.S, Department of Labor — Occupational Safety and
Health Administration, 230 N Ist Avenue, Suite 202, Phoenix, AZ. 85003. Failure to submit a timely
certification of corrective action may result in a notification to your agency DASHO,

Notice Number . and Item Number was corrected on
By (Method of Abatement):

Notice Number andftem Number ss was corrected on
By (Method of Abatement):

Notice Number __. and Item Number ss was corrected on
By (Method of Abatement):
Notice Number and Item Number sss was corrected on
By (Method of Abatement):
Notice Number and tem Number ss was corrected on

By (Method of Abatement): _

Notice Number and tem Number ss wass corrected on
By (Method of Abatement):

1 certify that the information contained in this document is accurate and that the affected employees and their
representatives have been informed of the abaternent.

Signature Date

Title

NOTE: 29 USC 666(g) whacver knowingly makes any false slatements, representation or cestification in any epplicatlon, record, plan or
other docurnents filed or required to be maintained pursuant (o the Act shull, upon conviction, be punished by o fine of not more than
$10,000 of by iraprisonment of not more than 6 mranths or both

POSTING: A copy of completed Corrective Action Worksheet should be posted far employee review,

“Notice of Unsafe and Unhcalthtul Working Conditlons = Page Sf 8 SHAR

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U.S. Department of Labor inspection Number: 1363108

Occupational Safety and Health Administration — Luspection Date(s): 11/28/2018 -
Issuance Date: 05/22/2019

Notice of afe aad Un thful Working Condig

Company Name: National Park Service, dba Grand Canyon National Park
Inspection Site: 2C Albright Ave, Grand Canyon, AZ 86023

tice | Item] Type of Violation: Serious

29 CFR 1960.25(c): The Agency did not inspect annually, all areas in each workplace, including office
operations:

a) MUSEUM COLLECTIONS BUILDING AND Throughout the Entire Park: Annual inspections for
the identification of safety and health hazards were not conducted since 2014. Employees were
routinely exposed to the potential chemical and physical hazards associated with ingestion and
inhalation when handling uranium core samples; and biological specimens and historical artifacts
coated with preservatives to prevent deterioralion.

ABATEMENT DOCUMENTATION REQUIRED FOR THIS ITEM

Date by which Violation must be Abated: 07/10/2019

See Pages { through 3 of this Nace for information on employer and employee rights and responsibilities .
Notice of Unsafe and Unheatthfa) Working Conditions Page 6 of 8 OSHA-3H

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U.S. Department of Labor Inspection Number: 1363108

Occupational Safely and Health Administration Inspection Date(s): 11/28/2018 -
Issuance Date: 05/22/2019

Notice of Unsafe and Unhealthful Working Conditions

Company Name: National Park Service, dba Grand Canyon National Park
Inspection Site; 2C Albright Ave, Grand Canyon, AZ 86023

Notice ]_Item2 ‘Type of Violation: Serious

29 CFR 1960.55(a): The Agency did not provide safety and health training for supervisory employees:

a) Museum Collection Building and throughout the Park: Supervisors and employees in the
Museum Collection Building and other areas throughout the park were responsible for the collection,
storage, and preservation of physical artifacts and relevant materials associated with the Grand Canyon
including ils geology, vegetation, habitation, and cultural history. The supervisor oversaw employces
working with uranium core samples, biological specimens, and historical artifacts coated with
preservatives to prevent deterioration while performing inventory and display/presentation set up, and
when those materials were used for research purposes. Employees had potential exposure to chemical
hazards such as uranium core samples, radon,.cellulose nitrate film, and biological specimens preserved
with arsenic, cyanide of mercury, naphthalene, 1,4-dichlorobenzene and other chemicals, as well as
physical hazards such as slips, trips, falls, struck by hazards, and heat exposure. Despite the numerous
potential exposures, supervisors did not receive safety and health training from the Agency.

Date by which Violation must be Abated: 06/18/2019

See Pages | through 3 of this Notice for infonnation on employer and employce rights and responsibilities
Notice of Unsafe ond Unhealh ful Working Conditions Page ? of B OSHA-2H
Case 3:19-cv-08268-DLR Document 45 Filed 10/08/20 Page 19 of 41

U.S. Department of Labor Inspection Number: 1363108

Occupational Safety and Health Administration Inspection Date(s): 11/28/2018 -
issuance Dates 05/22/2019

Notice of fui Working Conditions

Company Name: National Park Service, dba Grand Canyon National Park
Inspection Site: 2C Albright Ave, Grand Canyon, AZ 86023

Notice 1 Item3 Type of Violation: Serious
29 CFR 1960.59(a): The Agency did not provide appropriate safety and health training for employees:

a) MUSEUM COLLECTIONS BUILDING and throughout the Park: Employees in the Museum
Collection Building and other areas throughout the park were responsible for the collection, storage,
and preservation of physical artifacts and relevant materials associated with the Grand Canyon
including its geology, vegetation, habitation, and cultural history. Employees worked with uranium core
samples, biological specimens, and historical artifacts coated with preservatives to prevent
deterioration while performing inventory and display/presentation set up, and when those materials
were used for research purposes. Employees had potential exposure to chemical hazards such as
uranium core samples, radon, cellulose nitrate film, and biological specimens preserved with arsenic,
cyanide of mercury, naphthalene, !,4-dichlorobenzene and other chemicals, as well as physical hazards
such as slips, trips, falls, struck by hazards, and heat exposure. Despite the numerous potential
exposures, employees did not receive safety and health training from the Agency.

Date by which Violation must be Abated: 06/18/2019

—_ En
acthary Barnett

Area Director

Sce Pages ' through 3 of this Notice for information on employer and employee rights ond respansibiliuies
Notice of Unsafis ond Unhealthful Wasking Conditions Page 8 of 8 OSHA-2H
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Federal Employer Rights and Responsibilities
Following an OSHA Inspection-1996

After an Inspection

An Inspection of your workplace was conducted In accordance with the Occupational Safety and Health
Act of 1970, Executive Order 12196, and 29 CFR Part 1960, Basic Program Elements for Federal
Employee Occupational Safety and Health Programs and Related Matters, The compliance safety and
health officer (CSHO) who conducted the Inspection has found conditions that are in violation of the Act,
Executive Order 12196, or 29 CFR Part 1960, and you have been issued a Notice of Unsafe or Unhealthful
Working Conditions, OSHA-2H Form (OSHA Notice) that explains in detail the exact nature of the alleged
violation(s).

This pamphlet contains important Information regarding your rights and responsibilities under the Act,
Executive Order 12196, and 29 CFR Part 1960. For each apparent violation found during the inspection,
the compliance officer discussed the following with you:

® The nature of the violation,
* Possible abatement measures you may take to correct the violative condition, and
* Possible abatement dates you may be required to meet.

Types of Violations

© WILLFUL: A willful violation {s defined as a violation in which the employer either knowingly falled to
comply with a legal requirement (purposeful disregard) or acted with plain indifference to employee
safety. .

* SERIOUS: A serious violation exists when the workplace hazard could cause an accident or illness
that would most likely result in death or serious physical harm, unless the employer did not know or
could not have known of the violation.

® REPEATED: A Federal agency may be cited for a repeated violation if the agency has been cited
previously for the same or a substantially similar condition and, for a serious violation, OSHA's
reglonwide (see last page) Inspection history for the agency lists a previous OSHA Notice issued
within the past five years; or, for an other-than-serious violation, the establishment belng Inspected
received a previous OSHA Notice issued within the past five years.

* OTHER-THAN-SERIOQUS: A violation that has a direct relationship to fob safety and health, but ts
not serious In nature, ts classified as “other-than-serious.”

Posting Requirements

When you recelve an OSHA Notice, you must post it (or a copy of it) at or near the place where each
violation occurred to make employees aware of the hazards to which they may be exposed. The OSHA
Notice must remain posted for 3 working days or until the hazard Is abated, whichever ts longer.
(Saturdays, Sundays and Federal holidays are not counted as working days).

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Employer Options
As an employer who has been cited, you may:

* Correct the condition by the date set In the OSHA Notice and/ar,
« Request an Informal Conference within 15 working days from the me you received the OSHA Notice
with the OSHA Area Director to discuss the violations and/or the abatement dates.

How to Comply

For violations cited in the OSHA Notice, you must promptly notify the OSHA Aréa Director by letter that
you have taken the appropriate corrective action within the time set forth In the OSHA Notice. The
notification you send the Area Director is generally referred to as a LETTER OF CORRECTIVE ACTION. It
must explain the specific action taken with regard to the violation and state the date each corrective
action was taken.

If you have abatement questions after the Inspection, they should be discussed with the Area Director in
the Informal conference.

When the OSHA Notice permits an extended period of time for abatement, you must Insure that
employees are adequately protected during this time. If this Is the case, you must provide OSHA with a
periodic progress report on your actions taken In the interim.

Informal Conference

You may request an informal conference with the OSHA Area Director to discuss the violations. You may
use this opportunity to do any of the following:

»  Qbtain a better explanation for the violations cited.

« Obtain a more complete understanding of the specific standards that apply.
s Discuss ways to correct violations.

» Discuss problems concerning the abatement dates.

» Discuss problems concerning emplayee safety practices.

» Resolve disputed violations,

s Qbtain answers to any other questions you may have.

You are encouraged to take advantage of the opportunity to have an Informal conference if you foresee
any difficultles In complying with any part of the OSHA Notice. Employee representatives have the right
to participate tn any Informal conference or negotiations between the Area Director or Regional
Administrator and the employer.

If you agree that the violations do exist, but you have a valid reason for wishing to extend the abatement
date(s), you may discuss this with the Area Director during the Informal conference. The Area Director
may Issue an amended OSHA Notice that changes the abatement date prior to the expiration of the 15
warking day periad.

Every effort will be made to resolve the issues at an Informal conference. If, however, an issue & not
resolved by the Area Director, a summary of the discussion together with the agency’s position on the

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unresolved Issues shall be forwarded to the Federal Agency Program Officer (FAPQ) within 5 working
days of the informal conference,

® The FAPO/Reglonal Administrator will confer with the appropriate Regional agency officia] before
making a decision on the unresolved Issues.

° If the FAPO/Regional Administrator, In consultation with the Area Director, decides that the item in
question should remain unchanged on the OSHA Notice, the appropriate agency officials shall be
advised.

» — If there is still an unresolved Issue after the Regional review, the agency may send a letter of appeal
to OSHA's Office of Federal Agency Programs (OFAP).

*  OFAP will review the disputed Issues and discuss these with tap agency officials, as appropriate, to
obtain resolution. The decision at the National Office level, in consultation with the Regional
Administrator, FAPO, and Area Director, Is final.

« Under the OSHA Act, Executive Order 12196 and 29 CFR Part 1960, Federal agencies do not have the
right to contest the OSHA Notice,

Petition for Modification of Abatement (PMA)

Abatement dates are assigned on the basis of the best information available at the time the OSHA Notice
is ssued. When you are unable to meet an abatement date because of uncontrollable events or other
circumstances, you may file a Petition far Modification of Abatement (PMA) with the OSHA Area Director.

The petion must be in writing and must be submitted no later than one working day after the
abatement date. To show clearly that you have made a good-faith effort to comply, the PMA must include
all of the following Information before it can be considered:

* Steps you have taken In an effort to achleve compliance and dates they were taken;

« Additional time you need to comply;

» Why you need the additional time;

* Interim steps you are taking to safeguard your employees against the cited hazard(s) until the
abatement; and

* A certification that the petition has been posted, the date of posting and, when appropriate, a
statement that the petition has been furnished to an authorized representative of the affected
employees. The petition must remain posted for 10 working days, during which employees may file
an objection.

* A PMA may be granted or objected to by the OSHA Area Director. If a PMA Is granted, a monitoring
Inspection may be conducted to ensure that conditions are as they have been described and that
adequate progress toward abatement has been made.

When agreement to extend the abatement date cannot be reached at the Area Office, the agency may
bring unresolved Issues to the Regional Administrator/FAPO for resolution with his counterpart in the
agency. Issues not resclved at the regional level shall be forwarded to the Director, OFAP, for resolution
with agency headquarters in consultation with the Regional Administrator, the FAPO, and the Area
Director.

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Further information on PMAs may be obtained from any OSHA Area/District office.
Alternate Standards

Agency heads may apply for approval of an alternate standard where deemed necessary and, after
consulting with employees or thelr representatives, Including appropriate safety and health committees,
notify the Secretary of Labor and request approval of such standards. The Secretary will not approve
alternate standards unless It provides affected employees equivalent or greater protection.

The agency head must provide the Secretary with the following:

* A statement of why the agency cannot comply with the OSHA standard or wants to adopt an
alternate standard;

* A description of the alternate standard;

* An explanation of how the alternate standard provides equivalent or greater protection for the
affected employees;

* Adescription of Interim protective measures afforded employees until a decision (5 rendered by the
Secretary of Labor; and

» Asummary of written comments, if any, from interested employees, employee representatives, and
occupational safety and health committees.

Employees and other Interested groups are encouraged to participate in the alternate standard process,
Employee Courses of Action

Employees or their authorized representatives may object to any or all of the abatement dates set for
violations if they belleve them to be unreasonable. A written notice of thelr objections must be filed with
the OSHA Area Director within 15 working days after the employer receives the OSHA Notice.

The filing of an employee objection does not suspend the employer's obligation to abate the hazard(s).

Employees also have the right to object to 3 PMA. Such objections must be in writing and must be sent to
the Area Office within 10 days of service or posting.

Follow-up Inspection and Failure to Abate

If you receive a Notice of Unsafe or Unheaithful Working Conditions, a followup Inspection may be
conducted to verify that you have cone the following:

«  Pasted the OSHA Notice as required,

* Corrected the violations as required in the OSHA Notice, and/or

° Adequately protected employees and made appropriate progress in correcting the hazards during
multi-step or lengthy abatement periods.

» Any new violations discovered during a followup Inspection will be cited, as well as any hazards which
have not been abated by the abatement date so specified on the OSHA Netice. The latter violations
will be cited in the form of a Fallure to Abate Notice.

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Employer Discrimination

Executive Order 12196 and 29 CFR Part 1960.46 prohibit Federal agencies from discharging or otherwise
discriminating against an employee who has exercised any right under these laws, Including the right to
make safety and health complaints or to request an OSHA Inspection, In addition, Federal employees
may have protection for such activity under the Whistleblower Protection Act of 1989.

Complaints from employees who belleve they have been discriminated against wil be Investigated by the
Office of Special Counsel except in thase agencies not covered by the Whistleblower Act. Agencies
exempted from the Whistleblower Act are:

« Agovernment corporation, such as the Tennessee Valley Authority;

2 the Central Intelligence Agency, Defense Intelligence Agency, National Security Agency, or certain
other Intelligence agencles excluded by the President;

» the General Accounting Office;

« the U.S. Postal Service or Postal Rate Commission;

e the Federal Bureau of Investigation; and,

« Federal prisoners.

If the Federal employee's agency Is exempted from the Whistleblower Act, the alleged reprisal Is
forwarded to the agency's Designated Agency Safety and Health Official (DASHO).

There Is no time limit for filling a complaint with the Office of Special Counsel. To obtain further
information on this matter, employees may contact OSHA and/or the Office of Special Counsel.

Providing False Information

All Information reported to OSHA by employers and employees must be accurate and truthful.
Additional Information

For further information and assistance, please contact your OSHA Area Director.

Related Publications

A single free copy of the following materials can be obtained from the OSHA Publications Office, 200
Constitution Avenue, N.W., Room N3101, Washington, D.C. 20210, (202) 219-4667

s Chemical Hazard Cammunication (OSHA 3084)

* How to Prepare For Workplace Emergencies (OSHA 3088)

® Job Hazard Analysis (OSHA 3071)

» 29 CFR Part 1960, Basic Program Elements for Federal Emplayee Occupational Safety and Health
Progranis and Related Matters

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EXHIBIT X-16

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Attorneys for United States of America

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

Elston Stephenson, CV-19-08268-PCT-DLR
Plaintiff, INTERVENOR UNITED STATES’
MOTION TO DISMISS
vs. PURSUANT TO RULES 12(b)(1) and
12(b)(6)

Brian Drapeaux,

Defendant.

The United States moves to dismiss Plaintiffs complaint.! Plaintiffhas filed a claim
for injunction against harassment, in which he appears to allege Title VII claims of a hostile
work environment arising from “stalking” by Drapeaux, his supervisor, and/or tortious
conduct by Drapeaux under the Federal Tort Claims Act (FTCA). Plaintiff’s own
pleadings admit that his work dispute allegations are related to claims he has pending

before the Equal Employment Opportunity Commission (EEOC).

' Counsel for the United States has requested authority to continue to represent Defendant
Drapeaux but has not yet received it; however, the arguments asserted in the United States’
motion apply equally to Drapeaux’s interests and positions.

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The Court should dismiss for lack of subject matter jurisdiction and failure to state
a claim because the Federal statutes prohibiting discrimination in Federal employment
provide the exclusive remedy for claims of discrimination brought by Federal employees.
Under the Title VII statutes, Federal employees are required to either exhaust their
administrative remedies or provide timely notice to the EEOC prior to filing suit. Here,
Plaintiff has not alleged either that he properly exhausted his claims or provided notice to
the EEOC of his employment discrimination claims.

Further, to the extent Plaintiff’s allegations can be construed as a tort claim, the
Court should dismiss for lack of subject matter jurisdiction. The FTCA, 28 U.S.C. §
1346(b), provides a cause of action against the Federal government for persons injured by
the tortious activity of a Federal employee acting within the scope of his office or
employment. Plaintiff has not satisfied the jurisdictional prerequisite to a civil lawsuit
under the FTCA since he never submitted an administrative tort claim with the National
Park Service.

I. Introduction.

Plaintiff filed a Petition for an Injunction against Harassment in a Flagstaff Justice
Court against his supervisor, Brian Drapeaux, Deputy Superintendent, Business
Operations. See Drapeaux Declaration, attached as Exhibit C, at J 1. Plaintiff alleges that
his Supervisor “stalked him.” Plaintiff brought this action after he learned that Drapeaux
had allegedly driven onto Plaintiff's street in a neighborhood in a Grand Canyon National
Park village to check on whether or not Plaintiff was misusing a government owned vehicle
(GOV). Plaintiff alleges that he has an EEOC claim, alleging “Plaintiff has open formal
EEOC complaint against Defendant which is likely to find [sic] in Plaintiff’s favor.” Dkt.
1, at 8.7

? In connection with these claims, Plaintiff filed an internal complaint with the U.S.
Department of Interior, pursuant to Personnel Bulletin 18-01 (Exhibit A). Internal
complaints pursuant to the Bulletin in Exhibit A can be filed when an employee claims to
be subjected to harassment based on certain protected classification. These often precede
EEOC complaints. The Department found no merit to his Personnel Bulletin complaint.

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Defendant Drapeaux investigated Plaintiff because he had been directed by his own
Supervisor to confirm that Plaintiff was not using the GOV during the time Plaintiff had
been suspended and off duty. Exhibit C, at ¥2. Plaintiff had a history of often using the
GOV without checking it out under proper protocols, and taking unapproved leaves of
absences, setting his own work hours and schedule outside his mandated work hours
without pre-authorization, and often using the GOV during these time frames. Jd. Plaintiff
would frequently take the GOV off Park land without permission, to run errands to cities
miles away. Id.

Drapeaux also learned that Plaintiff treated the GOV as if it were his own personal
car, in violation of NPS policy. Jd. at 13. He personally saw the GOV at a coffee shop
parking lot an hour away from the Grand Canyon and contacted Plaintiff inside the shop.
Id. Plaintiff claimed to be working, though his duties had ended that day. Jd. Drapeaux
determined there was no valid business reason for the GOV to be there. Jd.

The NPS determined that Plaintiff was not accountable for his time and would take
unapproved leave and drive the GOV to various destinations both inside and outside the
Park without alerting anyone of the trips he was taking or their purposes. Jd. at 94. For
instance, Plaintiff often used the GOV when he had no legitimate business reasons,
including taking it home overnight and driving to destinations outside the Park when he
was not on authorized travel, Jd.

Investigation of his failure to follow NPS leave procedures and being absent without
leave (AWOL) led to the Park issuing Plaintiff discipline in the form of a three day
suspension. See Exhibit B, Approval of Proposed Suspension, dated July 10, 2019.

Drapeaux thus exercised legitimate managerial oversight over Plaintiff when
Drapeaux checked the whereabouts of the GOV, both during and after the discipline that
Plaintiff received. Plaintiff now characterizes that oversight as “stalking.”

Plaintiff also alleged in his Petition that NPS management interfered with First Aid

classes he taught, when his supervisor limited his use of equipment for the classes and

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when managers attended the classes as part of routine oversight of its employees’ work
related activities, such as Plaintiff’s.

I. Standard of review.

A motion to dismiss under 12(b)(1), F.R.C.P., tests the subject matter jurisdiction
of the Court. Savage v. Glendale Union High Sch., 343 F.3d 1036, 1039-40 (9th Cir.2003).
A Rule 12(b)(1) motion can either attack the sufficiency of the pleadings to establish
federal jurisdiction, or challenge the substance of the jurisdictional allegations despite the
formal sufficiency of the complaint. Thornhill Publ’g Co., Inc. v. Gen’l Tel. & Elecs.
Corp., 594 F.2d 730, 733 (9th Cir.1979). “A court lacks subject matter jurisdiction over a
claim against the United States if it has not consented to be sued on that claim.” Consejo
de Desarrollo Economico de Mexicali, A.C. v. U.S., 482 F.3d 1157, 1173 (9th Cir.2007).
“Federal courts are courts of limited jurisdiction...It is to be presumed that a cause lies
outside this limited jurisdiction and the burden of establishing the contrary rests upon the
party asserting jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375,
377 (1994) (citations omitted).

Further, under Rule 12(b)(6), a district court must dismiss the complaint if it fails to
state a claim upon which relief can be granted. A court should grant dismissal pursuant to
Rule 12(b)(6) where there is either a “lack of cognizable legal theory” or “the absence of
sufficient facts under a cognizable legal theory.” Balistreri v. Pacifica Police Dep’t, 901
F.2d 696, 699 (9th Cir.1990). That standard “requires more than labels and conclusions,
and a formulaic recitation of the elements of a cause of action will not do.” Bell Atl. Corp.
v. Twombly, 550 U.S. 544, 555 (2007). Further, Rule 8 “requires a ‘showing,’ rather than
a blanket assertion, of entitlement to relief. Without some factual allegation in the
complaint, it is hard to see how a claimant could satisfy the requirement of providing not
only ‘fair notice’ of the nature of the claim, but also ‘grounds’ on which the claim rests.”
Id. at 556, n. 3. Further, a complaint does not suffice if it tenders “naked assertion[s]”
devoid of “further factual enhancement.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009),
quoting Twombly, 550 U.S. at 557.

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Ill. Plaintiff’s claim of work-related harassment should be dismissed.

Plaintiff appears to seek relief for a claim of hostile work environment. He alleges
that he has suffered workplace harassment by Defendant Drapeaux by alleging that
Drapeaux came into his neighborhood and was stalking him. Plaintiff alleges this
harassment is related to his pending EEOC claims. Dkt 1 at 8. However, to establish a
prima facie claim of hostile work environment, a plaintiff must show that (1) he was
subjected to verbal or physical conduct of a racial, national origin, sexual, disability, or
age-based nature; (2) the conduct was unwelcome; and (3) the conduct was sufficiently
severe or pervasive to alter the conditions of employment and create an abusive work
environment. See Vasquez v. County of Los Angeles, 349 F.3d 634, 642 (9th Cir.2004);
see also Fuller v. City of Oakland, 47 F.3d 1522, 1527 (9th Cir.1995), A hostile work
environment exists only “[w]hen the workplace is permeated with discriminatory
intimidation, ridicule and insult that is sufficiently severe or pervasive to alter the
conditions of the victim’s employment and create an abusive working environment.”
Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993) (quotations and citations omitted). The
courts consistently apply this demanding hostile work environment standard “to ensure that
Title VI does not become a general civility code,” and to “filter out complaints attacking
the ordinary tribulations of the workplace.” Forager v. City of Boca Raton, 524 U.S. 775,
788 (1998). See also https://www.eeoc.gov/eeoc/index.cfm (EEOC only enforces federal
laws that make it illegal to discriminate against an employee because of the person’s race,
color, religion, sex, national origin, age, disability, genetic information, prior participation
in an employment discrimination investigation or lawsuit, or prior complaint of
discrimination).

Plaintiff's complaints about what occurred at work after he was disciplined and

suspended do not rise to the level of a hostile work environment as a matter of law.

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Plaintiff's claims merely involve Drapeaux’s legitimate oversight in checking on Plaintiff’s
use of the GOV. Plaintiff had misused the vehicle and received discipline for the misuse,
and Drapeaux was following up to ensure that Plaintiff was not violating the terms of his
discipline.

Though he attempts to relate this to his EEOC claims, Plaintiffs harassment claims
appear to have no legitimate relationship to discrimination. His request for a restraining
order does not allege that any of defendant’s actions were based on any protected trait. His
vague allegations are thus insufficient to state an actionable hostile work environment
claim. Kortan v. California Youth Authority, 217 F.3d 1104, 1107, 1111 (9th Cir.2000);
Vasquez, 349 F.3d at 642 (finding no race-based hostile work environment where plaintiff
alleged supervisory coworker told plaintiff two racial comments, yelled at plaintiff, made
negative remarks about him to others, and made false complaints about plaintiff); Capristo
v. Brennan, No. C-15-1071 EMC, 2015 WL 4396268, at *5 (N.D. Cal. July 17, 2015)
(dismissing a hostile work environment claim in which the alleged misconduct was one
incident of yelling by a supervisor and plaintiff made no allegations that the verbal
harassment was based on plaintiff’s race or national origin).

Rather, Plaintiff improperly seeks injunctive relief for allegedly irritating or
harassing acts such as Drapeaux coming near his home while he was suspended. Even if
Plaintiff could properly allege a Title VII violation involving a hostile work environment
tantamount to discrimination, no applicable waiver of sovereign immunity permits him to
obtain a restraining order against his supervisor for alleged employment discrimination
through state court civil procedural rules as Plaintiff has attempted with his filing for
injunctive relief. See Lau v. Wong, 2013 WL 2181655 at *1, *6 (plaintiff's FTCA and
Title VII claims were barred, dismissing the plaintiff’s request for a restraining order
against her supervisor based on allegations that supervisor ordered her into his office for
unclear reasons, berated her, acted in a belligerent and abusive manner, followed her

around the office, and threw a “reprimand letter” in the direction of her “vaginal area’’).

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Plaintiffs claims are thus precluded by Title VII, and should be dismissed for lack of
subject matter jurisdiction.

Title VII is the exclusive judicial remedy for claims of race, national origin, religion,
or sex discrimination in federal employment and expressly limits a plaintiff's remedies to
those enumerated in the statute. Brown v. Gen. Servs. Admin., 425 U.S. 820, 825 (1976);
42 U.S.C. § 2000e-16, 42 U.S.C. § 2000e-5(f)-(k); Boyd v. USPS, 752 F.2d 410, 413-14
(9th Cir.1985); 42 U.S.C. § 2000e-16, 42 U.S.C. § 2000e-5(f)-(k). Where a federal
employee asserts a claim under Title VII, that statute is exclusive of any other remedy
against both the federal government and the individual Federal employee alleged to have
participated in the discrimination. White v. Gen. Servs. Admin., 652 F.2d 913, 916-17 (9th
Cir.1981). Accordingly, Plaintiff's action should be dismissed.

A. Plaintiff's employment discrimination claim is also subject to dismissal for
failure to exhaust administrative remedies.

Even if Plaintiffs allegations were legally viable as a Title VII claim, his
harassment action must be dismissed because Title VII requires that the federal employee
either exhaust her administrative remedies, or provide notice to the EEOC, as a statutory
precondition to filing suit. Where a plaintiff has not substantially complied with
administrative exhaustion requirements, the federal district court does not have subject
matter jurisdiction to hear a Title VII claim. Leong v. Potter, 347 F.3d 1117, 1122 (9th
Cir.2003); see also Brown, supra, 425 U.S. at 832-33 (Title VII); Lyons v. England, 307
F.3d 1092, 1103 (9th Cir.2002). In this matter, Plaintiff both alleged that he has a
contemporaneous and related EEOC claim against Drapeaux, and also brought a potential
precursor action to this claim. See n.1, supra.

A federal employee seeking to pursue an individual complaint of discrimination
under Title VII must initiate contact with an EEO counselor within 45 days of the allegedly
discriminatory matter. 29 C.F.R. § 1614.105(a). If the matter is not resolved through
counseling, the EEO counselor must inform the complainant of the right to file a formal

complaint. 29 C.F.R. §§ 1614.105(6)(1), (c), (d), 1614.106(b). Once a formal EEO

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complaint has been filed, the Agency has 180 days from the filing date to investigate the
issues raised in the complaint. Only after 180 days have lapsed or the Agency has issued
a final agency decision, whichever is earlier, may the employee pursue a claim in federal
district court. 42 U.S.C. § 2000e-16(c); 29 C.F.R. §§ 1614.107(b). Given that he has failed
to follow this enumerated process, Plaintiff thus cannot obtain a restraining order against
his supervisor for alleged employment discrimination through state civil procedural rules.3

Since Plaintiff has failed to exhaust these administrative remedies, the Court has no

subject matter jurisdiction.

IV.  Plaintiff’s tort claim should be dismissed for lack of subject matter

jurisdiction.

To the extent Plaintiffs request for a restraining order arises from alleged tortious
conduct, Drapeaux enjoys absolute immunity from suit for common law torts committed
within the scope of his Federal employment and should be dismissed. “Absent a waiver,
sovereign immunity shields the Federal Government and its agencies from suit.” FDIC v.
Meyer, 510 U.S. 471, 475 (1994). A waiver of sovereign immunity must be “unequivocally
expressed in statutory text.” Lane v. Pena, 518 U.S. 187, 192 (1996). Under the FTCA,
the United States has waived its immunity from suit for certain torts and in expressly
prescribed circumstances. 28 U.S.C. §§ 1346(b), 2671-2680. The FTCA provides a cause
of action against the federal government for “persons injured by the tortious activity of an

employee of the United States where the employee was ‘acting within the scope of his

> Finally, under Title VII, the only proper defendant to any claims brought by a Federal
employee is the head of the agency or department. 42 U.S.C. § 2000e-16(c). See e.g.
Johnston v. Home, 875 F.2d 1415, 1419-20 (9th Cir.1989); White, supra, 652 F.2d at 916,
n.4 (Title VID); The Ninth Circuit has “consistently held that Title VII does not provide a
cause of action for damages against supervisors or fellow employees.” Holly D. v.
California Institute of Technology, 339 F.3d 1158, 1179 (9th Cir.2003); Hodge v. Dalton,
107 F.3d 705, 707 (9th Cir.1997) (“The doctrine of sovereign immunity applies to federal
agencies and federal officials acting within their official capacities.”). Thus the only proper
defendant in the Title VII claim would be the Secretary of the Interior, David Bernhardt.
Defendant Drapeaux should be dismissed.

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office or employment...” Wilson v. Drake, 87 F.3d 1073, 1076 (9th Cir. 1996) (quoting
28 U.S.C.§ 1346(b)).

The FTCA provides a limited waiver of sovereign immunity. 28 U.S.C § 2675(a).
A district court has no subject matter jurisdiction over an FTCA claim unless the plaintiff
has first presented a claim to the appropriate agency, and either (1) the claim was “finally
denied” in writing, or (2) six months have passed since the claim was submitted. 28 U.S.C.
§ 2675(a). The claim requirement is jurisdictional in nature and cannot be waived. McNeil
v. U.S., 508 U.S. 106, 11-12 (1993); Burns v. U.S., 764 F.2d 722, 723 (9th Cir.1985). The
plaintiff in an action seeking relief under the FTCA has the burden of pleading and proving
that she complied with the FTCA’s administrative claim presentment requirement. See
Bruce v. U.S., 621 F.2d 914, 918 (8th Cir.1980). Because plaintiff cannot show that he
exhausted administrative remedies for his potential tort claim, the Court lacks subject
matter jurisdiction.

Further, the Federal Employees Liability Reform and Tort Compensation Act of
1988 provides that the FTCA is the exclusive remedy for tortious acts and omissions
committed by Federal employees acting within the scope of their employment, and
precludes other civil actions that arise out of such acts or omissions. See 28 U.S.C. §
2679(b)(1).

Conclusion

As discussed above, no applicable waiver of sovereign immunity permits a

restraining order against Plaintiff's supervisor. As the court stated in Andrejko. v. Sanders,

638 F.Supp. 449, 452 (M.D.1986):

Clearly there is a federal interest here. One can easily imagine the disruption that
might occur in federal work places if federal employees were allowed to lodge and
maintain state tort claims against any superior with whom they had an axe to grind.
The resultant wave of litigation might well impair the ability of the various federal
agencies to function efficiently.

See also Lau, supra, at *6 (“to allow [plaintiff's] claims to proceed now would be to allow

her to ‘circumvent the EEOC’s investigatory and conciliatory role, as well as deprive the

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charged party of notice of the charge.”) Plaintiff should not be allowed to violate this
public policy, or be allowed to avoid exhausting his claims, whether under Title VII or the
FTCA.

Accordingly, the entire action should be dismissed.

RESPECTFULLY SUBMITTED this 14th day of November 2019.

MICHAEL BAILEY
United States Attorney
District of Arizona

s/Laurence G. Tinsley, Jr.
Laurence G. Tinsley, Jr.
Assistant U.S. Attorney

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CERTIFICATE OF SERVICE

[hereby certify that on November 14, 2019, I electronically transmitted the attached
document to the Clerk's Office using the CM/ECF System for filing and served a copy, via
first-class mail, postage prepaid, of the document to the following recipient who is not a

CM/ECF registrant:

Elston LeMans Stephenson
P.O. Box 129

Grand Canyon, AZ 86023
Plaintiff

s/rene Millsaps
USS. Attorney’s Office

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EXHIBIT X-17

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EXHIBIT X-18

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In the Matter of Elston L. Stephenson
Complaint Number: NPS-18-0460
Agency: United States Department of Interior
National Park Service

SUPPLEMENTAL STATEMENT OF BRIAN DRAPEUX
RESPONSIBLE MANAGEMENT OFFICIAL

My name is Brian Drapeaux. My job title is Deputy Superintendent; grade GS- 15,
National Park Service, Grand Canyon National Park, Grand Canyon, AZ. I have been in
my position since June 2014. I have worked for the Agency since June 2014. My
telephone number during the day is 928-638-7903.

I HAVE BEEN ADVISED OF THE FOLLOWING:

I am required by Federal regulations and United States Department of Interior policy and
National Park Service policy to cooperate fully and promptly with the investigator who
has been assigned to conduct a thorough and impartial investigation into a complaint of
discrimination against the Untied States Department of Interior and National Park
Service. I must provide a statement for the investigative report, which is true, and
complete to the best of my knowledge and which discloses all of my firsthand knowledge
having a bearing on the merits of the complaint. My statement is provided under oath (or
affirmation), without a pledge of confidentiality, in accordance with Equal Employment
Opportunity Commission rules and regulation as well as those of the United States
Department of Interior and National Park Service. The Complainant and the appropriate
Departmental officials involved in the EEO complaint process will receive the entire
investigative file. I have the right to review my statement prior to signing it and may
make initialized corrections if it is incomplete or inaccurate. I have the right to receive a
copy of the signed statement.

Having been advised of the above information about my role as a witness in the
investigative process, I solemnly swear the statement that follows is true and complete to
the best of my knowledge and belief, and addresses the issues and concerns raised with
me by the investigator.

I have the right to review my statement prior to signing it, and may make initialed

corrections if it is incomplete or inaccurate. I have a right to receive a copy of the signed

statement.
Issue/s:

Whether the complainant was subjected to harassment and discriminated
against on the basis of reprisal (this EEO complaint) when:

11. His Supervisor threatened him with suspension for arriving to work
early, and denied him extra/comp time hours.

1 wis Be.)
